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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

AUSTIN ECKES,                                        )
                                                     )
                              Plaintiff,             )
                                                     )
                         v.                          )       No. 2:18-cv-00559-JRS-DLP
                                                     )
OCHELTREE Sergeant,                                  )
NATHAN DUGGAR C/O,                                   )
WIGAND,                                              )
AMY WRIGHT,                                          )
CHANTELL KNEPP,                                      )
TAYLOR HILL,                                         )
KELLY LOVELL,                                        )
                                                     )
                              Defendants.            )

Order Screening Complaint, Directing Service of Process, Granting Motion for Jury Trial,
             Directing Response to Motion for Preliminary Injunction, and
                   Granting Motion to Produce Supporting Evidence

                                    I.      Screening Complaint

       A.      Screening Standard

       Plaintiff Austin Eckes is a prisoner currently incarcerated at Wabash Valley Correctional

Facility. His complaint relates to events that occurred prior to his incarceration. Because the

plaintiff is a “prisoner” as defined by 28 U.S.C. § 1915A(c), this Court has an obligation under 28

U.S.C. § 1915A(a) to screen his complaint before service on the defendants. Pursuant to 28 U.S.C.

§ 1915A(b), the Court must dismiss the complaint if it is frivolous or malicious, fails to state a

claim for relief, or seeks monetary relief against a defendant who is immune from such relief. In

determining whether the complaint states a claim, the Court applies the same standard as when

addressing a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6). See Cesal v.

Moats, 851 F.3d 714, 720 (7th Cir. 2017). To survive dismissal,
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       [the] complaint must contain sufficient factual matter, accepted as true, to state a
       claim for relief that is plausible on its face. A claim has facial plausibility when
       the plaintiff pleads factual content that allows the court to draw the reasonable
       inference that the defendant is liable for the misconduct alleged.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Pro se complaints such as that filed by the plaintiff

are construed liberally and held “to a less stringent standard than formal pleadings drafted by

lawyers.” Perez v. Fenoglio, 792 F.3d 768, 776 (7th Cir. 2015) (internal quotation omitted).

       B.      The Complaint

       Mr. Eckes names as defendants: (1) Sergeant Ocheltree, (2) Correctional Officer Nathan

Duggar, (3) Correctional Officer Wigand, (4) Director of Nursing Amy Wright, (5) Nurse Chantell

Knepp, (6) Nurse Taylor Hill, and (7) Nurse Kelly Lovell.

       Mr. Eckes alleges he is a mentally ill patient who has been diagnosed with mania II bipolar,

cluster 6 personality traits disorder, anti-social disorder, childhood onset disorder, attention

deficient hyperactive disorder, serious major depression disorder, conduct disorder, oppositional

deficient disorder, impulsive outburst disorder, and other disorders and regularly takes a large

number of psychiatric medications. He is known to have disruptive behavior.

       Mr. Eckes admits that on October 14, 2018, he was intentionally disruptive as he

purposefully flooded the 100 range and covered his door window with his mattress and covered

his back window with paper such that no one would be able to see inside of his cell door. At

around 11:30pm, an officer from outside asked Mr. Eckes to cuff up a few times, but Mr. Eckes

ignored the officer. The officer once again asked Mr. Eckes to cuff up a few times, but Mr. Eckes

still ignored the officer. At that point, his food port was opened and oleoresin capsicum (OC)

spray (more commonly known as pepper spray) was sprayed into his cell. Mr. Eckes alleges that

after a few minutes, the same thing happened with a different officer – Mr. Eckes ignored verbal

commands to cuff up and pepper spray was sprayed into his cell. Mr. Eckes alleges that because



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he is known to be suicidal, he could have been hanging from the light post on the ceiling or

bleeding to his death on the floor, but the officers would not have been able to see or hear him

because of how Mr. Eckes blocked his cell. Pepper spray was sprayed into his cell a third time.

Afterwards, his food port was opened and an officer hit a blunt object against the mattress. The

cycle of the blunt object hitting the mattress and pepper spray being sprayed in the cell continued

a few more times, yet Mr. Eckes continued to ignore the officer.

       Finally, Mr. Eckes removed his mattress and saw Officer Duggar and Sergeant Ocheltree

along with other correctional officials. When Mr. Eckes informed Sergeant Ocheltree he was

prepared to cuff up, Officer Duggar instead grabbed Mr. Eckes’ jumpsuit and held Mr. Eckes

against the foot port while Sergeant Ocheltree sprayed more pepper spray on Mr. Eckes’ lower

backside. A few minutes later, Mr. Eckes again prepared to cuff up and Officer Duggar pushed

Mr. Eckes’ butt through the food port while Sergeant Ocheltree again sprayed more pepper spray

towards Mr. Eckes. Mr. Eckes then alleges that he went into “protective mode” and refused to

follow any orders and began to yell and lash out without provocation.

       By 1:30am on October 15, 2018, Sergeant Ocheltree had a cell extraction team at Mr.

Eckes’ cell. Mr. Eckes was once again asked to cuff up, but he refused to do so. Officer Duggar

was the first to enter Mr. Eckes’ cell with a shock shield – Mr. Eckes states he was hit pretty hard

such that he was thrown three to five feet against the back wall and hit the back of his head against

the back wall. Mr. Eckes alleges he lost consciousness, but while going in and out of consciousness

could see that Officer Duggar was on top of him applying a shock shield to the right side of Mr.

Eckes’ body. Four other officers then pulled Mr. Eckes from under Officer Duggar and put

shackles on his hands and feet. While he was restrained and no longer resisting, Mr. Eckes alleges

Officer Duggar again shocked Mr. Eckes using the shock shield. Officer Duggar also grabbed Mr.




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Eckes’ right hand and twisted it in a direction to cause a pinched nerve – Mr. Eckes alleges that he

lost all feeling in his right hand for several days.

        Mr. Eckes believes Officer Duggar was retaliating against Mr. Eckes because Mr. Eckes

got Officer Duggar’s brother, Officer Seth Duggar, removed from Custody Control Unit (CCU)

for unprofessionalism and retaliation against Mr. Eckes and other inmates and because Mr. Eckes

filed a lawsuit against Officer Seth Duggar.

        Mr. Eckes was thereafter brought to the nurse station and seen by Nurse Lauren Miller.

The officers then escorted him to get showered, but Mr. Eckes was forced to take a hot shower

even though the manufacturer of pepper spray advises the use of soap and cold water to wash away

the affected area of chemical agents. He was then escorted back to his cell, but his cell was still

coated with pepper spray. He was left in just his boxers, which were still soaked in pepper spray

        About an hour later, Officer Duggar and four other officers returned to take photos of Mr.

Eckes’ injuries. Mr. Eckes asked Officer Wigand for a pair of fresh boxers because Mr. Eckes

was having painful burning sensations in his groin and inner leg regions, but his request was

denied. Mr. Eckes was then left in a cell with no running water and with pepper spray-soaked

boxers for 8 hours until he was finally able to take a shower.

        Mr. Eckes alleges that his right hand is permanently injured and numb. His mental

condition has deteriorated, and he has become delusional and hallucinatory. He also suffered from

a head injury from the shock shield’s impact and still suffers from severe migraines.

        Mr. Eckes alleges that he has been seen multiple times by the nurses for his injuries, but

that they have refused to let him see a doctor. He also has been denied an MRI for his right hand.

Nurse Taylor Hill and Nurse Stephanie allegedly told Mr. Eckes to “stop being stupid and you

wouldn’t have a head injury.” Dkt. 2 at 22.




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       Mr. Eckes also alleges he was improperly cell extracted on October 17 and 18, 2018, after

he threw water on Officer Nathan Duggar. Mr. Eckes thereafter submitted a number of requests

for medical, but was denied treatment and denied an MRI. In some instances, he was not seen in

response to his request for medical care. Nurse Knepp and Hill refused to schedule Mr. Eckes to

be seen by a doctor. Nurse Knepp, Hill and Wright both told Mr. Eckes he was healthy, and they

could not see any injuries and could not do anything for him. Nurse Kelly Lovell allegedly falsified

Mr. Eckes’ medical records to state that he refused treatment.

       Mr. Eckes is seeking “$50.00 from each defendant for punitive damages… as well [as] any

relief the courts may deem appropriate.”

       C.        Discussion of Claims

       Mr. Eckes’ First Amendment retaliation claim against Correctional Officer Nathan Duggar

shall proceed.

       Mr. Eckes’ Eighth Amendment cruel and unusual punishment, including excessive force,

claims against Sergeant Ocheltree, Correctional Officer Nathan Duggar, and Correction Officer

Wigand shall proceed.

       Mr. Eckes’ Eighth Amendment deliberate indifference claims against Nurse Amy Wright,

Nurse Chantell Knepp, Nurse Taylor Hill, and Nurse Kelly Lovell shall proceed.

                                    II.     Service of Process

       The clerk is directed pursuant to Fed. R. Civ. P. 4(c)(3) to issue process to the defendants

in the manner specified by Fed. R. Civ. P. 4(d). Process shall consist of the complaint (docket

2), applicable forms (Notice of Lawsuit and Request for Waiver of Service of Summons and

Waiver of Service of Summons), and this Order.




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                                    III.    Motion for Jury Trial

        Mr. Eckes’ motion for jury trial, dkt. [4], is granted to the extent that if this action

proceeds to trial, the trial will be scheduled as a jury trial.

               IV.       Directing Response to Motion for Preliminary Injunction

        Mr. Eckes has filed a motion for preliminary injunction. See dkt. 5. The defendants are

directed to file a response to the motion for preliminary injunction contemporaneously with

the filing of their answer or other responsive pleading.

                          V.     Motion to Produce Supporting Evidence

        Mr. Eckes’ motion to consider supporting evidence, dkt. [8], is granted to the extent the

Court will consider relevant caselaw in the course of these proceedings.

                   VI.       Summary of Claims Remaining and Actions Taken

        The claims remaining in this case are: the First Amendment retaliation claim against

Correctional Officer Nathan Duggar; the Eighth Amendment cruel and unusual punishment claims

against Sergeant Ocheltree, Correctional Officer Nathan Duggar, and Correction Officer Wigand;

and the Eighth Amendment deliberate indifference claims against Nurse Amy Wright, Nurse

Chantell Knepp, Nurse Taylor Hill, and Nurse Kelly Lovell.

        The Court has additionally taken or directed the following actions:

        (1) The clerk is directed to issue process to the defendants consistent with the instructions

            in Section II;

        (2) Mr. Eckes’ motion for jury trial, dkt. [4], is granted. Mr. Eckes’ motion to consider

            supporting evidence, dkt. [8], is granted




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       (3) The defendants are directed to file a response to the motion for preliminary

           injunction contemporaneously with the filing of their answer or other responsive

           pleading.

       (4) The clerk is directed to update Mr. Eckes’ address consistent with the distribution

           below.

       IT IS SO ORDERED.

       Date:    1/18/2019




Distribution:

AUSTIN ECKES
228699
Westville -CF
WESTVILLE CORRECTIONAL FACILITY
Inmate Mail/Parcels
5501 South 1100 West
WESTVILLE, IN 46391

Electronic service to the following IDOC employees at Wabash Valley Correctional Facility:

       Sergeant Ocheltree
       C/O Nathan Duggar
       C/O Wigand

Nurse Amy Wright
Medical Provider
Wabash Valley Correctional Facility
6908 S. Old US Highway 41
Carlisle, IN 47838

Nurse Chantell Knepp
Medical Provider
Wabash Valley Correctional Facility
6908 S. Old US Highway 41
Carlisle, IN 47838




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Nurse Taylor Hill
Medical Provider
Wabash Valley Correctional Facility
6908 S. Old US Highway 41
Carlisle, IN 47838

Nurse Kelly Lovell
Medical Provider
Wabash Valley Correctional Facility
6908 S. Old US Highway 41
Carlisle, IN 47838

Courtesy Copy to:
  Douglass R. Bitner
  Katz Korin Cunningham, P.C.
  334 North Senate Avenue
  Indianapolis, IN 46204




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